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 8                           UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,              )   Case No. 2:15-CR-00139 JAM
                                            )
12                        Plaintiff,        )
                                            )
13          v.                              )
                                            )
14   EMMA KLEM,                             )
                                            )
15                        Defendant.        )
                                            )
16                                          )
                                            )   RELATED CASE ORDER
17   UNITED STATES OF AMERICA,              )
                                            )
18                        Plaintiff,        )
                                            )   Case No. 2:15-CR-00161 KJM
19          v.                              )
                                            )
20   ANDREW KIMURA, et al.,                 )
                                            )
21                        Defendants.       )
                                            )
22

23          Examination of the above-entitled actions reveals that these

24   actions are related within the meaning of Local Rule 123 (E.D. Cal.

25   2005).      Accordingly, the assignment of the matters to the same

26   judge is likely to affect a substantial savings of judicial effort

27   and is also likely to be convenient for the parties.

28   ///


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        Case 2:15-cr-00161-WBS Document 35 Filed 08/11/15 Page 2 of 2


 1        The parties should be aware that relating the cases under

 2   Local Rule 123 merely has the result that these actions are

 3   assigned to the same judge; no consolidation of the actions is

 4   effected.

 5        IT IS THEREFORE ORDERED that the action denominated

 6   2:15-CR-00161 KJM be reassigned to Judge John A. Mendez for all

 7   further proceedings, and any dates currently set in this reassigned

 8   case only are hereby VACATED.     Henceforth, the caption on documents

 9   filed in the reassigned cases shall be shown as 2:15-CR-00161 JAM.

10        IT IS FURTHER ORDERED that the Clerk of the Court make

11   appropriate adjustment in the assignment of criminal cases to

12   compensate for this reassignment.

13        IT IS SO ORDERED.

14   Dated:   August 10, 2015         /s/ John A. Mendez________________
                                      JOHN A. MENDEZ
15                                    United States District Court Judge
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